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                                                                          FILED
                                                                  U.S. DISTRICT COURT
                                                                     AUGUSTA DIV.
                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                               DUBLIN DIVISION
                                                                  2018 OCT n PH i-29

                                                                  CLERK
XJNITED STATES OF AMERICA                                             SO.


      V.                                         CR    312-005


JOHN M. BEASLEY




                                  ORDER




      Presently pending before the Court in this criminal matter is

a pro se motion filed by Defendant John M. Beasley requesting a

''Judicial Recommendation Concerning Length of RRC/Halfway House

Placement."      Defendant is currently serving an 87-month term of

imprisonment      at   FCI    Yazoo   City   Low,      Federal     Correctional

Institution, in Yazoo City, Mississippi.               His projected release

date is September 25, 2019.

      Through his motion. Defendant asks this Court to recommend to

the Bureau of Prisons that he be considered for the maximum pre

release stay of twelve months in a Residential Re-Entry Center

("RCC") under the Second Chance Act of 2007, 18 U.S.C. §§ 3621,

3624.


      The Court concludes that Defendant is challenging the manner

of   execution    of   his   sentence;   thus,   a    writ   of   habeas    corpus

pursuant to 28 U.S.C. § 2241 is the appropriate legal vehicle to
      Case 3:12-cr-00005-DHB-BKE Document 92 Filed 10/17/18 Page 2 of 2




challenge the BOP's decision regarding his RRC placement.                 See

Antonelli v. Warden, U.S.P. Atlanta, 542 F.3d 1348, 1352 {ll*^*^ Cir.

2008) {"[C]hallenges to the execution of a sentence, rather than

the validity of the sentence itself, are properly brought under §

2241."). Moreover, a § 2241 petition must be filed in the district

of confinement rather than in the sentencing court.           Rumsfeld v.

Padilla, 542 U.S. 426, 443 (2004).          Thus, after exhausting his

administrative remedies. Defendant must file a § 2241 petition in

the   Southern District    of   Mississippi   to   puruse   the   requested

relief.    This Court simply does not have jurisdiction over the

matter; accordingly, his current motion requesting a judicial

recommendation (doc. no. 91) is DENIED.               ^

      ORDER ENTERED at Augusta, Georgia, this ^ 7^day of October,
2018.




                                        UNITED STATES DISTRICT JUDGE
